Case 2:16-cv-02805-MCA-LDW Document 64 Filed 02/10/17 Page 1 of 4 PageID: 1257



                              UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW JERSEY


   ROOFERS’ PENSION FUND, on                        Civil Action No.
   Behalf of Itself and All Others Similarly
   Situated,                                        16-2805 (MCA) (LDW)

                Plaintiff,

                                                    ORDER

   JOSEPH C. PAPA and PERRIGO
   COMPANY PLC,

               Defendants.


   MICHAEL WILSON, Individually and
   on Behalf of All Others Similarly
   Situated,

                Plaintiff,

   V.


   JOSEPH C. PAPA and PERRIGO
   COMPANY PLC,

                Defendants.




        THIS MATTER having come before the Court by way of a motion by movant Hard

 Insurance Company Ltd. for appointment as lead plaintiff and approval of lead counsel (ECF No.

 5), and by way of a motion by movants Migdal Insurance Company Ltd., Migdal Makefet

 Pension and Provident Fund Ltd., Clal Insurance Company Ltd., Clal Pension and Provident

 Ltd., Atudot Pension Fund for Employees and Independent Workers Ltd., and Meitav DS

 Provident funds (collectively, “the Perrigo Institutional Investor Group”) for appointment as
Case 2:16-cv-02805-MCA-LDW Document 64 Filed 02/10/17 Page 2 of 4 PageID: 1258




 lead plaintiff, approval of lead counsel, and consolidation with all existing and future related

 cases (ECF No. 6), and by way of a motion movant Dan Kielnerman for appointment as lead

 plaintiff, approval of lead counsel, and consolidation with all existing and future related cases

 (ECF No. 7), and by way of a motion by movant Michael Wilson for appointment as lead

 plaintiff, approval of lead counsel, consolidation specifically with Wilson v. Papa, Civ. A. No.

  16-4358 ($DW) (LDW),’ consolidation with all existing and future related cases (ECF No. 9),

 and by way of a motion by movant Harel Insurance Company Ltd. (ECF No. 29) to strike

 portions of the reply brief of movant Kieinemian (ECF No. 24); and

         WHEREAS the Court has reviewd and considered the papers filed variously supporting

  and opposing these motions (ECF Nos. 5, 6,7, 8, 9, 11, 17, 18, 19, 20, 23, 24, 25, 26, 29, 33,

  42); and

         WHEREAS the Court placed an oral decision on the record addressing these motions on

  february 10, 2017;

         IT IS, on this 10th day of February, 2017, ORDERED, in accordance with the

  February 10, 2017 oral decision of the Court, that:

      1. The motion by the Perrigo Institutional Investor Group for appointment as lead plaintiff,

         approval of their choice co-lead counsel Pomerantz LLP and Bernstein Litowitz Berger &

         Grossmann LLP and liaison counsel Lowenstein Sandier LLP, and consolidation of

         existing and future related cases (ECF No. 6) is GRANTED.




  1
    United States District Judge Madeline Cox Arleo already granted consolidation with this case.
  (Wilson v. Papa, Civ. A. No. 16-4358 (SDW) (LDW), ECF No. 7).
                                                2
Case 2:16-cv-02805-MCA-LDW Document 64 Filed 02/10/17 Page 3 of 4 PageID: 1259



    2. The other motions seeking appointment as lead plaintiff and approval of counsel (ECF

        Nos. 5, 7, 9) are DENIED.

    3. The motion by movant Hard Insurance Company Ltd. (ECF No. 29) to strike portions of

        movant Kleinerman’s reply papers (ECF No. 24) is DENIED AS MOOT.

    4. The Clerk of the Court shall TERMINATE the motions filed as ECF Nos. 5, 6, 7, 9, and

        29.




                                          n. Leda Dunn Wettre
                                          United States Magistrate Judge

 Original:     Clerk of the Court
       cc:     Hon. Madeline Cox Arleo, U.S.D.J.
               All Parties and Movants




                                               3
Case 2:16-cv-02805-MCA-LDW Document 64 Filed 02/10/17 Page 4 of 4 PageID: 1260
